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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/N/A
JULIA ELLEN BARTELS and :
FREDERICK L. BARTELS, JR., : No. 1:16-ev-2145-CCC

    
 
 

individually and as Administrators : (Connor, C.J.)
of the Estate of Abrielle Kira Bartels,  : (Carlson, M.J.) FILED
Deceased, ; HARRISBURG
Plaintiffs, SEP 132017
v.

 

THE MILTON 8. HERSHEY SCHOOL, :

et al. DEPUTY CLERK
Defendants.
QUALIFIED PROTECTIVE ORDER
[3h Sept h/ ‘oi
AND NOW, this day of c , 2017, pursuant to the joint

motion filed by the parties, the Court hereby enters this Qualified Protective Order

regarding discovery sought by the parties from the Pennsylvania Psychiatric Institute

("PPI"):

1. Regarding the Subpoena to Produce Documents, Information, or Objects or to
Permit Inspection of Premises in a Civil Action issued by Defendants, PPI shall,
within fourteen (14) days of service of this Qualified Protective Order, provide
Defendants’ counsel with the following records regarding Abrielle Kira Bartels,
Deceased: (1) a complete copy of the medical record, (2) a copy of the medical
bill, (3) a copy of the release of information file, and (4) a copy of the accounting
of disclosures (hereinafter collectively referred to as “Medical Records’), except

for such documents in which a claim of attorney-client privilege is asserted by
 

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PPI, subject to the following:

a,

Defendants’ counsel shall maintain the confidentiality of the Medica!
Records by not disclosing any portion of the contents of the records to
anyone other than the Court under seal, Plaintiffs’ counsel, and
Defendants’ expert witnesses. Plaintiffs’ counsel shall maintain
confidentiality of the Medical Records by not disclosing any portion of the
contents of the records to anyone other than the Court under seal and
Plaintiffs’ expert witnesses. Neither Defendants’ counsel nor Plaintiffs’
counsel shall release any portion of the records to any other third parties
and counsel shall instruct their expert witnesses not to do so under
penalty of being held in contempt of court.

At the conclusion of this litigation, Defendants’ counsel and Plaintiffs’
counsel shall destroy PPI’s Medical Records, including records provided
to their experts, and certify, in writing, to PPI's counsel that they have
done so.

Under no circumstances shall counsel for the parties or their experts use
the information contained in PPI's Medical Records for purposes other
than this lawsuit and counsel shall instruct thelr expert witnesses not to do

so under penalty of being held in contempt of court.

Regarding the Subpoena to Testify at a Deposition in a Civil Action which

Plaintiffs’ counsel issued to a PP! physician, the following protective order shall

apply to the deposition and to any other subpoena issued to a PPI physician or

employee to testify at a deposition:
 

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a. Only counsel for the parties, a court reporter, the witness, and counsel for
PPI shall be permitted to attend the deposition.

b, The transcript of testimony and any audio-video recordings of PPI
witnesses shall be marked “Confidential” and shall not be disclosed to
anyone other than the Court under seal and the parties’ expert witnesses.
Neither Defendants’ counsel nor Plaintiffs’ counsel shall release the
transcripts or any portion of the transcripts, or audio-video recordings or
any portion of any audio-video recordings to any other third parties and
counsel shall instruct their expert witnesses and court reporters not to do
so under penalty of being held in contempt of court.

c. At the conclusion of this litigation, Defendants’ counsel and Plaintiffs’
counsel shall destroy the transcripts and audio-video recordings, including
the transcripts and audio-video recordings provided to their experts, and
certify, in writing, to PPl's counsel that they have done so.

d. Under no circumstances shall counsel for the parties or their experts use
the information contained in the transcripts or audio-video recordings or
the testimony acquired from PPI's witnesses for purposes other than this
lawsuit and counsel shall instruct their expert witnesses and court
reporters not to do so under penalty of being held in contempt of court.

The purpose of this Order is to insure compliance with the privacy provisions of

the Pennsylvania Mental Health Procedures Act, 50 P.S. §7111, and the Privacy

Rule issued pursuant to the federal Health Insurance Portability and

Accountability Act at 45 C.F.R. §164.512(e). In the latter case, this Order

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constitutes a Qualified Protective Order within the meaning of 45 C.F.R.

§164.512(e).

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Martin C. Carlson
United States Magistrate Judge

 
